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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MONTANA
                          MISSOULA DIVISION

JUDITH NEW MAN,
as Personal Representative          Cause No.
of the Estate of Karlye Newman

                      Plaintiff,
                                    ANSWER AND DEMAND FOR
           v.                       JURY TRIAL

UNITED FIRE AND CASUALTY
COMPANY,

                      Defendant.


     COMES NOW Defendant United Fire and Casualty Company (“United

Fire”) through its counsel of record and for its Answer to the Amended



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Complaint, admits, denies and alleges as follows:

      1.      Answering Paragraph 1, based upon information and belief, United

Fire admits the allegations contained therein.

      2.      Answering Paragraph 2, United Fire admits the allegations

contained therein.

      3.      Answering Paragraph 3, United Fire admits the allegations

contained therein.

      4.      Answering Paragraph 4, United Fire admits the allegations

contained therein.

      5.      Answering Paragraph 5, United Fire denies the allegations

contained therein.

      6.      Answering Paragraph 6, United Fire admits NCS tendered defense

of the lawsuit in September 2008. United Fire admits it denied coverage and

refused the tender of defense.

      7.      Answering Paragraph 7, United Fire admits NCS retained counsel

at its own expense. United Fire admits NCS was exposed to financial risk but

alleges there was no coverage.

      8.      Answering Paragraph 8, United Fire admits Plaintiff’s counsel sent

a letter dated January 19, 2010, advising that a mediation was scheduled for


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February 10, 2010. United Fire admits the letter advised that United Fire was

invited to appear and participate at the mediation. United Fire alleges the

contents of the January 19, 2010 letter speak for themselves and are the best

evidence of their contents. United Fire admits it did not participate in the

mediation.

       9.       Answering Paragraph 9, United Fire admits NCS entered into a

settlement agreement with the Plaintiffs whereby NCS stipulated to a judgment

and assigned all first party claims it might have against United Fire to the

Plaintiff.

       10.      Answering Paragraph 10, United Fire alleges the allegations

contained therein call for a legal conclusion to which no response is necessary.

       11.      Answering Paragraph 11, United Fire admits that based upon

information and belief, a hearing occurred on March 26, 2010.

       12.      Answering Paragraph 12, United Fire admits the District Court

entered its Findings of Fact, Conclusions of Law and Order on March 29, 2010.

United Fire admits judgment was entered against NCS in the amount of $3

million on April 6, 2010. United Fire denies the allegation that the judgment did

not exceed the combined limits of the two United Fire policies.

       13.      Answering Paragraph 13, United Fire realleges and incorporates


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its responses to Paragraphs 1 through 12 as though fully set forth herein.

      14.   Answering Paragraph 14, United Fire denies the allegations

contained therein.

      15.   Answering Paragraph 15, United Fire denies the allegations

contained therein.

      16.   Answering Paragraph 16, United Fire denies the allegations

contained therein.

      17.   Answering Paragraph 17, United Fire denies the allegations

contained therein.

      18.   Answering Paragraph 18, United Fire denies the allegations

contained therein.

      19.   Answering Paragraph 19, United Fire realleges and incorporates

its responses to Paragraphs 1 through 18 as though fully set forth herein.

      20.   Answering Paragraph 20, United Fire admits this is an action for

declaratory relief.

      21.   Answering Paragraph 21, United Fire denies the allegations

contained therein.

      22.   All allegations not specifically admitted or qualified above are

hereby denied.


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                       FIRST AFFIRMATIVE DEFENSE

      Plaintiff’s Amended Complaint fails to state a claim for which relief can

be granted.

                     SECOND AFFIRMATIVE DEFENSE

      There is no coverage for the Plaintiff’s claims against National Contract

Services in the underlying action and so United Fire had no duty to defend that

action.

                      THIRD AFFIRMATIVE DEFENSE

      There is no coverage for the Plaintiff’s claims against National Contract

Services in the underlying action and so United Fire had no duty to indemnify

National Contract Services in that action.

                     FOURTH AFFIRMATIVE DEFENSE

      Any claim for punitive damages in this case is violative of the Federal

Constitution Requirements that property not be taken without due process and

other Constitutional provisions of the United States Constitution.

                       FIFTH AFFIRMATIVE DEFENSE

      Any award of punitive damages in this case must be limited by the

requirements of the statute limiting the matter, means and amount of punitive

damages.


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                        SIXTH AFFIRMATIVE DEFENSE

      The Plaintiff is not entitled attorney’s fees.

                      SEVENTH AFFIRMATIVE DEFENSE

      The Plaintiff is not entitled to pre-judgment interest.

                          DEMAND FOR JURY TRIAL

      United Fire demands a trial by jury of all issues triable in this action.

      W HEREFORE, having fully answered Plaintiff’s Amended Complaint,

United Fire requests a judgment in its favor as follows:

      1.      Declaring United Fire had no duty to defend National Contract

Services in the underlying action.

      2.      Declaring United Fire had no duty to indemnify National Contract

Services in the underlying action.

      3.      Declaring there is no coverage under the policy issued to National

Contract Services for Plaintiff’s claims.

      4.      For attorney’s fees and costs incurred herein.

      5.      For such other and further relief as the Court deems just and

proper.

      DATED this 27 th day of February, 2013.

                                   /s/ Stephanie A. Hollar
                          Stephanie A. Hollar, Esq.
                          Dennis P. Clarke, Esq.
                          SMITH, W ALSH, CLARKE & GREGOIRE, PLLP
                               Attorneys for Defendant

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                        CERTIFICATE OF SERVICE

      I hereby certify that on the 27 th day of February, 2013, a copy of the
foregoing document was served on the following persons CM/ECF:

1.    Clerk, U.S. District Court

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                                               /s/ Stephanie A. Hollar




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